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                    Exhibit 124
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      Confidential                                                                                 -T
                                 In the name of Allah, the Gracious, the Merciful
      [English] Palestinian National Authority                  [Arabic] Palestinian Nation
                                                   P.A.
          Ministry of Social Affairs                                  Ministry of Social A.
                                                 emblem
             M'sF. & I. C. E                                       Families and Injured




                               In the name of Allah, the Gracious, the Merciful


                                                 Social Report

      Case: Aqsa Martvr


      Name: Raed Abdel-Hamid Abd A-Razaq Misk


      Local number: 554                                     Central number: 014335

      Governorate: Hebron


      Date:9.3.2003




      Ramallah - Tel/Fax: XX-XXXXXXX


      Confidential                                                             Shatsky-JD00603-T
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             Cnnlldeutial                                                             Shatsk-v-JD00604-T
             Part l: Personal Iufolmafion
Local no.: 55.1                                                              Central no.: 014335
The case's uatne; Raed Abdel-Haurid Abd A-Razaq N{isk                        Code name:

Nationality: Palesfinian                                                     Identilication no
Benelitiary's fltll name: Arij tv{rrhanunad Zuheir Multaluuad Shaitq Misk    Identilication no.:            04.96
{Wife. fathc- nother, brotlra, srter)

Motlrer's full name: Fanna Utveida Abd Al-Karirn lvlisk                      i\{other's ldentillcation no
                                                                                                              R"du"t*o
Wifeos name: Aij Mtdranuuad Zuheir lr4uhaunad Shafiq Misk                    Wife's Idertilicatiou no. :                 0496

Place and date of bit'th:               1974 - Heblou                        Place of origin: Hebrou
Religiou: Muslint                                                            Sex: lr,Iale     }\lalital slahrs. Ivlarrred
Prevlous job: Teachel'I Associalion of tlte Acadeudciarts                    Cun'eut job
Education: M.A. in Islauric Larv
Date and numbet of confir'rnation lettel': -
Date of confiI'mation in the institution: -



              Part 2: Administt'afive I:rforrnafion
l{ilitu"\'rank: i'                                                           Organizafional rank:
Rank coullrmatiou letter: I                                                  No. i'                 Date: I

Developments in pt'eviotts allowauce: /                                      Curreut: I             Changes:

Organizatioual affiliation: Islaruic Resistauce Moveluenl "Hantas"           Sectot':
Date of joiuing the revoltttlou: 1990 OlganizationallY:                      l\'Iilitarily:    As a full-firne member:
Training cout's€s undertnken: Several cotuses

Place and date of the incident: 8.19.2003 - \\testeut Jeutsalenr
Details of the incideut: lrrlarfyldom Operatiou in an Israeli altictllated bns in Weslenr Jeutsalem.
Brief Biogrnphy: The afr:tementioued rvas bour iu the city of Hebron. He pmduafed fiou high school itt Hebton.
Tlelr joilecl the University of Hebron and eaured a Bacltelor's degee iu Islamic Law. Theu heioined tlre Al-
Najah Lrniversity and $'as studyiog in the last seuresler fOr his lr.laster's depfee in Islaruic Larv rvhen he becaure a
marfyr'
The family's residente: Possessed: The urarfy'r's hotue rvas dernolislted @1[g!,:                   Shared:

lVlonthly rent:                                                        I{etlacterl
 Full address
 Nerresl telephone


              Cnnfidential                                                            Shatsky--rD00604-T
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 4 of 148




           c:onfidential                                                                     slmrsky_JDoo6o5-T
            Parl 3: Familv table: * rnarried - sinple
                   l. If uunied. the nanres of flre wives and uriuor childreu are rvdtten fust. followed by the
                       ruarnes of adult children. and tlrcn the names of the parents and siblings.
                   ?. lf sitryle. the traures of the parcnls arc wrineu fu'st. followed by the names of minor
                       sibliugs. and tlreu adult siblilgs.
Sedal    Nalne                  Relationship      DoB             Edurntion        Profession       ll{adtal Address
no.                             to the case                                                         status
I        .4rij },lrilranunad    Wife
                                                 *.1978           B.A. Islarnic    Teacher          Widou'   Hebron I Al-,lauru
         Zrrheir                                                  taw
        Ithftanmad
        Shafiq Misk
                                Dauglrter                         None             crhild
J                               Son                               Nole             child
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Number of dependents: 4
If mat'r'ied: the ryives slrd miDor children: Wife + 3 childleu
If single: lhe parents and the minor. siblings;
Notes concelning the family table: The mafi)n's wife is in the hfth uronth ofprepnancy
                                            We will contiuue lo follow the case.


           Con{ideltial                                                                          Shatsky-JD00605-T
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        Confidential                                                             Shatsky-JD00606-T


        Name of the case and its type: The Martyr: Raed Abdel-Hamid Abd A-Razaq Misk
        Recommendation of the Department:
        1) The aforementioned is manied and has a wife and two children.
        2) He was martyred as a result of a detonation on board an articulated bus in Jerusalem
        (Israeli bus).
        3) To be confirmed as a martyr of the Al-Aqsa Intifada.
                                                   DaIe: 9.4.2003 Signature: lhandwritten]
        Decision of the establishment's director: ( Hebron )
        I instruct to confirm the aforementioned as a marryr of the Al-Aqsa Intifada'



                                                     Date: 11.9.2003 Signature: lhandwritten]


        Calculation of the allowance:
Basic       Wife          Children          Father          Mother         Minor siblines     Total in Dinar
600         25            25X2
                            50


        Other increments:
        Total in dinar;
        Total in shekel: 700I*l Shekels

                                                :

        Confirmed as a martvr of the Al-Aqsa Intifada as of 9.1.2003. Will be paid   Eml shekels a
        month.



                                          Date: 9.18.2003            Signature: [signature]




        Comnuterized notes:                Date:                             Signature




        Confidential                                                              Shatsky-JD00606-T
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  Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 8 of 148

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                    Exhibit I25
                        Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 12 of 148




Palestinian Nntional Authoritr                       [Emblem of the Palestinian National Anthoritrl               ]Iarl-rrs" Families nd Injured Car.e Establishment
                                                                                                                                                         Print Dnte: O5,rT l /?0? I
Personal Inforura$gg;
ID Card:
         ***9819                  Four-Part Name: Raed Abdel-Hamid Abd A-Razaq lv{isk
               *t1974                                                                                          Type of Docmnenf: Palestinian ID
DateofBirth,                      Ministry; Hebron                                                              Gender: Male


                                                                                            Level           Group         Start Date          EndDate
                                                                                      Unspecified        Unsoecified     Redaciet'l

Increments and Deductions:
     Code          Start Date              EndDate             Value     Petcentage or amrmt              Reference           IDNo.      BeneficiarvName
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Case Data:
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Beneficiaries' Data:
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                         Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 13 of 148




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                    Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 14 of 148




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Palestiniau National Authority   [Enrbleur of the Palestiuian National Authority]   Martl:s' Faurilies and Injtued Care Establislrment
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Palestinian National Authority     [Emblem of the Palestinian National Authority]   Martyrs' Faurilies arrd Injured Care Establisluuent
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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 23 of 148




                    Exhibit 126
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 24 of 148




       Confidential                                                              Shatsky-JD00835-T
                         Gaza martyrs
                              In the name of Allah, the Gracious, the Merciful




       Palestine Liberation Organization
       Palestinian National Authority
       MarQrrsr X'amilies and Injured Care Establishment



                                               Social Report

                                                Case: Martvr


       Name                 Ramez Abd al-Qader Muhammad Ubeid


       Local number:        0125781*l


       Central number:

      Governorate:


      Date:




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 25 of 148




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       Additional notes




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 26 of 148




          Confidential                                                                     Shatsky-JD00837-T
          Part 1: Personal Information
 Local no.                                                       Central no.
 The case's name; Ramez Abd al-Qader Muhammad Ubeid              Code name:
 Nationality: Palestinian                                        Identification no.:
 Education and date: Second [year] university
 Beneficiaryrs full name:   lttttl                               Identification no.: l[@
 Mother's full name: Saida Abd al-Aziz tbrahim Ubeid             Motherrs Identilication no.
 Date and place of birth:"'"""" .1974                            Place of origin: Beit Darras
 Religion: Muslim                                                Sex: Male         Marital status: Single
 Previous job: University student                                Current job
 Date and number of confirmation letter:                    Date of confirmation in the institution:


          Administrative Information
 Military rank:                                                              Organizational rank:
 Rank confirmation letter:                                                   No.                 Date:
 Previous monthly allowance:                                                 Memorandum No.:
 Organizational afliliation                                                  Governorate:
 Date of joining the revolution:           Organizationally:                 Militarily:     As a full-time member:
 Training courses undertaken


 Pface and date of the incident: 3.4.1996 Tel Aviv
 Details of the incident: Martyrdom operation in Tel Aviv




 Brief Biography:




 The family's residence: Owned: Agency                 Rented:                  Shared:
 Full Address: Khan Younis. the lilleeible] military camp behind the Agenc],'s water lillesible] 429l40[*l at the
 Al-Khazandar Coffee Shop.




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 27 of 148




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           Part 3: Familv table: lnatlietl - single
              I . If ruanied. the nanrcs of the wives and udlot children are urittett fir'st. followed by the
                   names of adult children. and then the uaures of the parcnts and siltlittgs.
                2. If silgle. the names of rlle parents are rvlifteu fu'st. followed by tln ualtes of miuor
                       siblings. atrd tltel adttlt siblittgs.
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 Notes concerniug the family table:




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 28 of 148




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       Decision of the establishment's dil.ector: (       )
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      Audit's nofes:                   Date:                       Signature: [sipnanneJ
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      Comnuterized notes:               Date




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 29 of 148




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                                    Follow Up Table
                 Serial No               Note                   Signature and Date

       3/2007                Change from S.C. to Martyr   K 470 [signature]

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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 30 of 148




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   Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 34 of 148

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                    Exhibit I27
                            Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 38 of 148




Palestinian National Authorih                               [Emblem of the Palestininn National Authodh-l                Ilartlrs" Families and Injured Care Establishment
                                                                                                                                                               Print Date: 05i3 lr'20? I
Personel Information:
ffiffiRedacted4993                     Forir-Part Naure: Ramez Abed al-Kaderlrfoharunad ubeid                    Type of Docurnent: Palestiniarr ID
Date of Birth:                         Ministry: Khan l-ruris                                                    Gender:


                                           Scale                                                                     Grouo        Stafi Date       End Date
New Scale for the Families of Marf*rs                                                     JUnspecified         Ijnspecified

Increments and Deductiom:
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                    Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 40 of 148




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       Confidential                                                           Shatsky-JDO0885-T
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       [English] Palestinian National Authority                 [Arabic] Palestinian National Authority
                                                     P.A.
           Ministry of Social Affairs                                 Ministry of Social Affairs
                                                   emblem
              M'sF.&LC.E                                           Families and Injured Care Establishment




                               In the name of Allah, the Gracious, the Merciful


                                                  Social Report

                                                  Case: Ma4vr


       Name: Sa'id Hasan Hussein Hutari


       Local number:                                    Central number: 012846

       Governorate: Oalqil)ra


       Date:6.18.2001




      Ramallah - Tel/Fax: XX-XXXXXXX                                  Ramallah - Tel/Far XX-XXXXXXX


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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 51 of 148




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           Part l: Persoual Iuformatiou
 Local uo"                                                          Centl'al no.: 012846
 The case's [ame: 5a'id Hasan Hussein Hutari                        Code name
                                                                                         o*o*5008
 )riationali$ ; Palestinian                                         klenfilication no
                                                                                         **"o* 3 842
 Beneficiaty's full name: Hasan Hussein Hasan Hutari                Identitication no. :
                                                                                                    *"*o* 5323
 Slother's fitll nnrne: Adla[*] Ali Muhaturad Hrttan                I\lother's Identilicaliot no- :            J*1

 Place rnd date of trirttt:**.1979 Jorclau                          Plnce of origiu: Qalqilya
 Religion: Islarrric                                                Sex: Male         ll'lnrital status: Single
 Previous Job: Electrician                                          Culreut Job: *-
 Date snd numbel of confirmation lettet':
 Date of coulirmation in tbe institution.
 Educatiou: Diplorua in electrical supply




           Psrt 2: Administrafive Informafion
 ilIilitary rank:                                                               Organizatiorral rank:
 Rank coulirlnatiou lelter:                                                     No.                   Date:

 Developmeuts in previous allowance                                             Current:              Changes:

 Organizational alliliation : Hamas                                             Sector':

 Date of Joining tlre revolution               Organizationally:                !l{ilitarily:     As a frrll-time member:
 Traiuing coul'ses undertaken:


 Place and date ofthe incideut: 6 L2001 Tel Aviv
 Details of tlre incident: Duriug a nruryldon opetatiou in Tel Aviv


 Bdef Biographv: He was bour iu Arrunan atld sttKlied thete. Eamed a diplorna in electrical strpply il Jordal
 Tluee years ago. he visitecl Qalqilya anil settled there. Tlte aforementiotted and his brother resicled in thefu'
 granchnother's houre iu Qalqilya - he worked in electriciry artd helped his farnily.


 The family's residence: Owued: owued                    Reuted                  Shaled:
 l\{ontltly rent:                                            I{eclacterl

 Full address:
 Nearest telephone:
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             Confrdential                                                                  Shatsky-JD00886-T
   Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 52 of 148




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                            naures of adult children. and ther the names of tbe parcnts and siblilgs.
                     2. If single. the naures of tlte palents zue rvritten fir'st. follorvecl by tlre naures of urinor
                            sibliugs. and then adulr siblil.es.
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     no.                             lo lhe case                                                     status
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    Number of tlependents: 5
    If manied: fhe rvives ald rninor. childr.en:
    If siugle: the par ents and tlre miuor siblhgs: The patelts + 3
    Notes coucerniug the famill' table:

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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 53 of 148




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                                                                                Martyr Sa'id Hasan Hussein Hutari
        Recommendations of the department:




                                                                             Date:            Signature: lhandwrittenl


        Decision of the establishment's director: (                                  -)



                                                                             Date:            Signature: lhandwrittenl


        Calculation of the allowance:                                                -
Basis             Wife             Children                         Father           Mother           Minor siblinss     Total in Dinar




        Other increments
        Total in dinar:
        Total in shekel


        Confirmation of the director seneral:
        He is to be confirmed as a martyr of the Al-Aqsa Martyrs as of 6.1.2001 and pald lS@
        shekels a month.
        The disbursement will go to his father, Hasan Hussein Hasan al-Hutari
                                  Rcdacted                              number@@


        Auditos notes:                                         Date: 6.19.2001                  Signature: [signature]




         Comnuterized notes:                                        Date:                               Signature


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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 54 of 148




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              (the umnied ones) or the cases'siblings (who arc unmanied):


              The name: sa'id Hasau Hrusein al-Hutari The case: Acsa lvlartgl centlal No.: 01246

                                                                School Years

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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 55 of 148




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  Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 57 of 148

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                    Exhibit 129
                            Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 62 of 148




Palestinian ltiational Authorih                        [Emblem of the Palestinian J{ational Authoritr]        }Iartns'Famfies and Injured Car.e Establishment
                                                                                                                                                   Print Date: 051-11i2021
Personal Information:
Iiltfr-:Redao*ffi
               ***ll9z9           Fcur-Parl Name: Said Hasan Hussein Hutari                               Type of Docuurent: Palestirrian ID
Date of Birthr                    Ministry: Qalqilya Gender: Male


                                                                                        Level         Group           Stad Date         End Date
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Increments and Deductions:
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     3842                      Re clacied                              00                                                  apporfionulent   Redacred
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                   Hutari



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            Hasan Hussein Hasan Hutari




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                          Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 63 of 148




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                               Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 69 of 148




           Palestinian }{ati onal Authority                                                                             +--hJ,ilr a4!lr ilLJr
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                                   Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 70 of 148




                Palestinian National Authority
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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 73 of 148




                    Exhibit 130
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 74 of 148




           Corrfidential                                                                      Shatsky-.ID00959-T
                                                                lr4attvl Said Ibrahim Said Ranradan
           Part 3: Farnily table: * lnarrird - siugle                                                  SaidJ
                  L If ruanied. the laures of the rvives and urilol children are u,ritfen first. followed by the
                      tuames of adult children. and tlren the nanes of the parcnts and siblings,
                  2. If single. tlte lalnes of fhe parcilts are r.vrittel flu'st. followed by the names of minor
                      siblings. and then adult siblings.
Serial   lfarne                Rclationship      DoB          Education         Professiou                 \{aritnl     Address
no.                            lo the case                                                                 status
I        Rcdactcd              Father            Itcdactctl   Eleurentary       Does not u'ort / ill       Magied       Itcdac[-tl
                                                                                                           decensed
2        Aziya Ali             Mother            1946         Illiterate        Horsen,ife                 Ir{auied     Tal
         Ibrahiru
         Ramadan
-)       ltcdactcd             Sistet'           l{etlacted   Jrmior high       Hortseu,ife                lr{auied     l('dae 1ed
4                              Sister                         High school                                  Married
5                              Sister                         ?"d year     il   Uuir.ersity student        Married
                                                              ruilr.ersit-r                                Sinfl€
6                              Brothcr                        Iligh school      Laboler                    lr'tarried
                                                                                +€h€€4[1i{i{a*y{l}ftn      S'inel,e
                                                                                Stlrd€r*
7                              Sister                         grb               Strdeul                    Idan'ied
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Number ofdependents: 5
If rnanied: tbe rvives and rninor cblldren:
If single: lhe pareuts and the minor siblings:
Notes conceruing lhe familv table:
                                                              Retlar led
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 75 of 148




      Confidential                                                             Shatsky-JDO0959-T

      Confidential                                                             ShatskY-JD00960-T
                                 In the name of Allah, the Gracious, the Merciful

      [English] Palestinian National Authority                   lArabic] Palestinian National Authority
                                                   P.A.
          Ministry of Social Affairs                                   Ministry of Social Affairs
                                                 emblem
             M'sF.&I.C.E                                            Families and I4iured Care Establishment




                               In the name of Allah, the Gracious, the Merciful
      The procedure was sent bY fax
                                                 Social RePort

                                       Case: Aqsa Marlyr / Militar.v man


       Name: Said Ibrahim Said Ramadan
                                                                                             Gflfl[I
       Local number: 660                                     Central number:


       Governorate: Nablus


       Date:1.27.2002




       Ramallah - Tel/Fax: 02'2986268                                    Ramallah - Tel/Fax: XX-XXXXXXX
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           (:onhdential
                                                                                        Shatsly-JD00960-T
           Confidential                                                                 Shatsk"v-JD00961   -T
           Part l: Personal Iufol.mafion
  Local no.                                                         Central no.
  The case's lrarne: Saicl Ibrahim Said Ramadan                     Code name:
 Nationality: Palestiuial                                           Ideutification no           4804
 BeneficiarT's full name:                                           Identilication no.
 ll{other's full name: Aziya Ali Ibrahim Rauadan                    Mother''s Identilicafiot no. :           137
 Place and date ofbirth             1978 Kurvait                    Place of origin: Tal
 Religion: Muslinr                                                  Sex: Male       lllalital rtalus: Single
 Preyious job: Policeruan iu the lr{arital police                   Cun'ent job:
 Date and number of conlir.mation lefler.
 Date of confirrnafion in the instifntiou
        Education: HigCr school




           Part 2: Admiuistrative Infor.matiou
 l{ilitaly. rank: €e4reral Sergeanr                                           Olganizational lank:
 Rank conlirlnation lrtler:                                                   No.                    Dnte:
 Developments lu previous allolvauce:                                         Curtent:               Changes:
 Organizafionat altrliation : Faralr                                          Sector:
 Date of joiuiug the revolntion:            Organizationally                  Militarily:       As a full-time mernber.:
 Training courses ruderlaken :


 Place aud date of the incident: 1.22,2002 West Jemsaleru. Jaffa Streef
 Details of the incident: He was martvred rvhile                        operaticrn in $rest,Ientraleu.
 The operatiou caused the death and iujruv of uraly Ismelis


 Brtef Biography The lualty' rvas bonr iu Kurvail lIl I 97 8" He snrdied ul Kuwaiti school S lunrit he graduafed fiom
 elernelltaly sclrools- as fhe familv resided there. He refturred to the homeland lIt 990 ald snrdied
                                                                                                         lll the JLx)ror
higlr and Itiglr school u1 his village He first wodied lll the tield of urechauics He then joirrcd flre Palestirriat
National Authority's Irrlarital Police autl was giveu the mnk of Corporal. T5e martyr was knor.r.rr to be quiet
                                                                                                                     ancl
devoted 1o the ttation. [cut ol]] saicl: "You seduced ury soul, oh urarqr". He was uargred rvhile
                                                                                                        executi'g 5is
duty to the honelard.
The family's residenre: Owned:               Rented:                    Shared
ll'Iouthly rent:                                       Re(lacte(l
Full atldress
Neal'est telephone:
          Confideutial                                                              Shatsky-JD00961 -T
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 77 of 148




              Conficlential                                                                     Shatsll-'rD00962-T
                                                                  Martyl Said lbrahim Said Rauradal
              Parl J: Farnilv table: " Inatried - single
                    l. If lnrrietl. the larues of tlre wives and ruiuor childrerr are u'ritten fir'st. follolved Lry tlte
                       uaures of adult chilctlel. and llren lhe uatrres cf lhe palents and siblings.
                    ?. If sipgle. the uaures of the parents ale rvritten fu'st. follolved by the narnes of ntinor
                         siblings. and then aclult siblittgs.
Serinl      N*lne                  Relalionslfp     DoB            Educalion       Professiou                \{aritnl    Address

ro.                                to the case                                                               stntus

I           Rcdacted               Father           Redacted       Elenrentarv     Does uol rtorli i ill     }.{,r*ieC   Retlactecl
                                                                                                             cleceased

,           Aziya Ali              lr{other          1946           Illiterate     Housewife                 Manied      Tal
            Ibrahiut
            Raruadan
J           1(edacterl             Sister            I{cdircted     .Iunior high   Housewife                 h{anied     l{edacted

4                                  Sister                           High school                              Mauied

5                                  Sister                           2"d year iIt   lhriversity student       lvlarried
                                                                    uliversil-v                              Shele
6                                  Brotlter                         High school    Policelruilitat-r, utau   Siugle
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                                   Sister                           grb            Shldent                   Sirrgle



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    Number of dependents: 5
    If marrietl: the rviles Rnd rninol ehildren:
    Ifsingle: lhe parents autl the rnlnor sibliugs:
    Notes coucelniug the famllr* table:
                                                                    I{eeiat terl

               L'orilidentral                                                                    Shatslf/-JD00962-'l
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 78 of 148




         Confidential                                                             Shatsky-JD00963-T
                                                    Aqsa Martyr / Nablus Said Ibrahim Said Ramadan
         Recommendations of the department:




                                                     Date:   _        Signature: lhandwritten]

        Decision of the establishment's director: (              )




                                                     Date:   _        Signature: lhandwritten]

        Calculation of the allowance:
Basic       Wife            Children       Father            Mother              Minor siblines   Total in Dinar



        Other increments:
        Total in dinar:
        Total in shekel


        Confirmation of the director general:
        To be confirmed as an Al-Aqsa
                                        ryIaqvr as of 2.1.2002 without allowances from the
        Estrblishment                                                I poli.e.




        Auditos notes:                  Date: [Illegible]               Signature: [signature]




        Comnuterized notes:              Date:                                    Signature




        Confidential                                                                  Shatsky-JD00963-T
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 79 of 148




        Confidential                                                         ShatskY-JD00964-T
                                                    MartYr Said Ibrahim Said Ramadan
        Recommendations of the department:
                                                                                     student siblings'
        - The martyr fwas] single. Bom in 1978. His mother is alive and he has three
        -He was martyred on l.22.2002having executed a marlryrdom operation in west Jerusalem'
        - The martyr [was] a military man. canied the rank of corporal in the Marital Police
        Apparatus.
        - I recommend to confirm him as an Al-Aqsa Martyr'
                                                      Date: l.Zl :2001 Signature: lhandwritten]


        Decision of the establishment's director: ( Nablus )
        -Martyr'Single.Wasmartyredfollowingtheexecutionofamartyrdomoperationin
        Jerusalem.
        -To be confirmed as an Al-Aqsa Martyr. The martyr was a military man'

                                                      Date: 2.19.2002 Signature: [handwrittenl


        Calculation of the allowance:
                            Children        Father          Mother          Minor siblinss    Total in Dinar
Basic        Wife



         Other increments:
         Total in dinar:
         Total in shekel:


         Confirmation of the director seneral:




         Auditts notes:                   Date:                Signature:




         Comnuterized notes:                Date:                             Signature




                                                                                    Shatsky-JD00964-T
         Confidential
Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 80 of 148




            Confidential                                                       Shatsky-JDO0965-T
                                     In the name of Allah, the Gracious. the Merciful
   PALESTINIAN LIBERATION ORGANIZATION                               PALESTINIAN LIBERATION ORGANIZATION
                                                     [PLO emblem]
   M'sF.&I.C.E                                                       Martyrs' Families and Injured Care Establishment



           The Establishment / Nablus


           The brother Gen. Dir. Of the Establishment, may Allah take care of him,
           Greetings of the homeland and the state,


           Case Name: Said Ibrahim Said Ramadan Type: Military Martyr
           Central No.: 13168 Altowance: ll[lttl Sergeant
           The required measure and reasons: +* Move the martvr's allowance from the Military
           Financial Department to the Maftyrs'Families and Injured
                                                                        [care Establishment].

           The beneficiary is Aziya Ali Ibrahim Ramadan / ID No. *"0"",*0137.
           Mttl
           Th".artyr's ullo*an.e should be moned to th" Murty.r' Farnilies and Injured car"
           Ertublirh..nt rturting on 7.1.2009 bur.d on th. d."irion ofth. dir..tor.

           Attached Documents: _
           Name and signature of the Department?s head:                                   lsi
           Allowance to be paid fromthe         Establishmentffi
           Opinion of the director:
           ** The recommendation is to be confirmed. The martvr's allowance should
                                                                                     be transferred to
           the Mafrs' Fiunilies and Injured Care Establishment based on the decision of
                                                                                        the director
           starting on 7. 1.2009.
           Datet 6.21.2009 signature of the Estabrishment's director: Isignaturel
          Measure to be taken by the Director General: To be confirmed for disbursement
                                                                                            from the
          Establislullent st?ullng on 7. 1.2009. l'he martvr's allowance MtElbased on the
                                                                                          transfbr
          instruction. according to the manaeement's regulations.


          Date: 7 .6.2009 Signature: lsignaturel
          Main Measure:                                         e and signature ofthe clerk:
          Audit Measure:                                   Name and signature: _




          Nablus - Tel/Fax: 09 2385550                               Nablus - Tel/Fax: 09 2385550
          Ram al I ah-Te l/F ax: 02 -29 86268                        Ramal lah-TeVF ax: XX-XXXXXXX


          Confidential                                                       Shatsky-JD00965-T
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                                                                                                                                                       Print Date: 05,'3 1i2021
Personal Information:
]ffiRedacted4g04                   Four-Part Name: Said Ibrahim Said Ramadan               Tlpe of Docunent: Palestinian ID
Date of Bir{r,
               **i 1978            Minbtrl: Nablus                                                   Gender: Male


                                                                                         Level            Group          Start Date        End Date
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Increnrents and Deductions :
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       04/l/2020               0137                 Ali Ibrahim Rauadan                       1560
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       08tI/2020                                    Ali Ibrahinr Ramadan                      1560
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       02lt/202t                                    Ali Ibahiru Rauradan                      1560
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                                  In the name of Allah, the Gracious, the Merciful
       [English] Palestinian National Authority                  [Arabic] Palestinian National Authority
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            Ministry of Social Affairs                                 Ministry of Social Affairs
                                                   emblem
               M'sF.&LC.E                                             Families and Injured Care Establishment




                                In the name of Allah, the Gracious, the Merciful


                                                  Social Report

                                                  Case: Aqsa Martyr




       Name: Sa'id Widah Hamid Awada


       Local number: 810                                     Central number:

       Governorate: Nablus


       Date:7.29.2002




       Ramallah - Tel/Fax: XX-XXXXXXX                                   Ramallah - Tel/Fax: XX-XXXXXXX


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 Local uo.                                                         Central no.
 The ca$e's llalne: Sa'id Widah Haurid A'n'ada                     Code name:
                                                                   Itlentilication no.:            oTzo
 Nationatity: Palestiuiarl
 Beneficiaty's full narne; Shadiva Barkat Abd A-Rahim Awada        kleltilicafiou no. : [Illegible]
 {u'rfe. fetls. nurher. brothd. slsirr)
                                                                   \'Iother's Identificafion no'                  7977
 jl{othefs fitll name: Slratliva Barkat Abd A-Rahim Awada
 $ife's name: I                                                    !\:ife's klenlitication uo.;               i
 Place aud date of bit'tlr:               1975 Nablus              Place of origin: Nabltrs

 Religiou lv{usliur                                                    Sex: Male          l'Iarital status: Single
 Previous jolt: }r{ottlder                                             Cnrt'ent job

 Eilucatiou     graele in elett.eutat1.' school

 Date aud ntttnber of conlirmation letter':
 Dste of co[lirmation in tlre institutiou:




                                                                                   Organizatioual rank
  Militatl rank:
                                                                                   No.                        Date:
  Rauk confh'mation lettet':
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                                                                                   Sector
  Organizaliotlal nlliliatiou: Falah
  Date of joining the revoltttion                  OrgauizationallY:               l{ilitatily:      As a full-time melnber':

  Tr aiuing (ourses ttutlertaken:


  Place and date of the incitlent: (l!]!:pq? .Ieutsaleur - French
                                                                            Hill
  Details of the incident:
  the death ald idruJ of uarty Zionists.

                                                                                                          l9?5. He s'ew trP irt the
   Brief                                                                                                :#:




   The                   residence: Orvued:             Rented:              Shared:

   il'Ionthly rent: 2000 Dinars each year
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   Full adtlress
   Iearest telePhoue:

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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 104 of 148




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          Recommendations of the department: The martyr Sa,id widah Hamid
                                                                                            Awada
          - The mtrtvr lwasl sinsle. Born in 1985. His parents are
                                                                   alive and he has six rtrd.rt riblir*r.   L.b.r.r.
          - He was maqwed on 6'18.2002 following the execution
                                                                       of the Jerusalem Martyrdom Operation.
          - I recommend to confirm him as an Al-Aqsa Martyt

                                                          Date: 7 .29.2002 Signature: lhandwrittenl

          Decision of the establishment,s director: (
                                                                   )




                                                          Date:             Signature:


          Calculation of the allowance:
 Basic        Wife          Children            Father            Mother            Minor siblings     Total in Dinar



         Other increments
         Total in dinar:
         Total in shekel:


         Confirmation of the director seneral:
         To be confirmed an Al-Aqsa Martyr as of 7 .1.2002 and           puid@.

         Auditos notes:                     Date:8.26.2002                   Signature: I




         Comnuterized notes:                  Date:                                  Signature:




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 105 of 148




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 9                                     Rrother                                  [Illegible]      IIllegible]

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    Numtrer of dependen$:
    If mnt'l'ietl: the n'ives aud rninor' children:
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    If single: the pn!'ents antl the rnilor sibliugs: 8
     Notes colcerniug the fnmill' table:
                                                                             Shadi-va Barkat Atrdet Rahirl Ar:r'ada
     Accorurt rrlulber of the beleficiary. the rmrl-vr's motlrer.
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                     Exhibit 133
                           Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 112 of 148




Palestinian National .{uthoriry                       [Embleiu of the Palestinian Narional .{.uthority]       Mar4ns' Faurilies and Injrued Care Establishrnent
                                                                                                                                                       Print Dete: 05/31/2021
Personal fnformrtion:
ffirdj*** **itlssl*1
           n2ot*1    Forn-Part Naure: Sa'id[*] Widah Hanid Awada                                       T1pe,:f Docunent: Palestinian ID
Date of Birrhr                        Minishy: Nablus                                                  Gender': Male


                                                                                           Level           Grouo         Start Date         End Date
                                                                                      Unspecit-red       Uuspecrfied

Iucreurents and Deductions
      Code          Start Date                 End Date         Value       PercentaEe or anrotmt         Reference         ID No.      Beneficiarv Name
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Case Data
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       Mart\rr                                                                                                Unspecified

Beneficiaries' Data:




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     79"77   Shadiya Barkar Abr                                           00                                                    apportioDment
               A-RahimAu'ada
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     79V7     Shadiya Barkat Abd A-Rahiru Aw[cut offl                                                       Redactcd




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                     Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 114 of 148




Palesti[ian National Authority   [Emblem of the Palestinian National Authority]   Martlrs'Fanilies ancl I'jrued care Establishrnent



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                                 [Emblem of the Palestinian National Authori{v]
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 Palestinian National Authority      [Emblem of the Palestinian National Anthorigl   Martyr.s' Families a1dIljruecl c'are Esta6lisl''e't



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                               Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 119 of 148




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                     Exhibit I34
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       Confidential                                                                   Shatsky-JD00673 -T
                                  In          of Allah, the Gracious, the Merciful
       [English] Palestinian Nr                                  [Arabic] Palestinian National Authority
                                                   P,A.
            Ministry of Social                                         Ministry of Social Affairs
                                                 emblem
               M's F. & I. C.I                                      Families and Injured Care Establishment




                                       name of Allah, the Gracious, the Merciful


                                               Social Report

       Case: Ma4vr of Al-Aqsa Intifada


       Name: Samer Samih Mohammad Hammad


       Local number: 896                       Central number: 15107

       Governorate: Jenin


       Date: 4.27.2006




       Ramallah - Tel/Fax: XX-XXXXXXX


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                                                                                      Shatsky-JDO0674-T
              Confidential
              Icut offl: Personal Information
 Local no.: 896                                                                Central no.; 15107
                                                                               Code name:
 The casers name: Samer Samih Mohammad Hammad
                                                                               Identification no.           8533
 Nationality: Palestinian
                                                                               Identification no.           5135
 Beneficiaryts full name: Samih Mohammad AhmadHammad
 (Wife, father, mothel brother, sister)
                                                                               Mother's ldentification no.            8803
 Mother's full name: SamiYa Ahmad Mahmoud Hammad
 Wifets name:                                                                  Wife's ldentification no. :
                                          1984 - Al-Araqah                     Place of origin: Al-Araqah
 Place and date of bifth
                                                                               Sex: Male           Marital status: Single-4
 Religion: Muslim
 Previous job: UniversitY student
                                                                               Currentjob:     -

                                                                     Account no.:     2347 Palesline / Jenin
 Education: First year, social service
                                                                     Account no.:         83 Cairo-Amman / Jenin
 Date and number of confirmation letter:
 Date of confirmation in the institution:



  Military rank:                                                               Organizational rank:
                                                                                No.                      Date
  Rank confi rmation letter:
                                                                                Current:                 Changes:
  Developments in previous allowance:
                                                                                Sector:
  Organizational affiliation: Islamic J ihad
                                           OrganizationallY:                    Militarily         As a full-time member:
  Date of joining the revolution:
  Training courses undertaken :


  Place and date of the incident: 4'17.2006 Tel Aviv
                                                                                              operation ln Tel Aviv
  Details of the incident: He became a martyr during the executlon of a martyrdom
                                                                         Open University
  Brief Biography: Born in Al -Araqah in 1984. Was a student in Al-Quds
  First year Was affrliated with the Islamic Jihad organization
  The familyos                             Rented:         Shared

   Monthly rent:
   Full address: Al-Araqah, [illegible] of the town'
   N earest telephone: 0s22930456 the martyr's father "Samih Hammad

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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 126 of 148




                confide'tial                                                                      shatsLy-.rD00675-T
                lcut ofll: Family table: * marlied - single
                      I   ' If maried. tlte nalttes of tlte wives and niuor chilcleu are writfeu fir.st. follorved by tlre
                            ruarues of adnlt children, and then the uames of the pareuts
                                                                                               anel sibliugs.
                      2. If siltgle. flte trarrres of the parents are writter first. follorved by t1e narnes of lniuor
                            siblilgs. and rhen aduh siblings
  Serinl     Nnme                    Relatiouship     DoB             Educatiou      Professiorr         Madtal      Address
  no.                                to the ease                                                         slahls
             Saurih                  Father                           EleDreltary    Laborer             Ir{atried   Al-Araqah/Jenin
             \{ohalrlltrad                                            school
             Alunad Haturnd
  1
                                     Mother                           Elementary     Honsewil-e          Married
                                                                      school
                                     Sister                                          Snrde[t             Stugle
 .{                                 Itrolher                                         Snrdenl             Single
            Rcrlactr,rl             Sister            licrlacl ccl    Jrnior liglr   Houserrife         Manied       }]..:ilueter i
                                                                      school
 6                                  Sister           Iierl;rc t sLl   Jrurior high   Housewife          Iviarried
                                                                      school
                                    Sister           lLc(litelc(l     Jurdor hielr   Horuervife         Manied
                                                                      school
 I                                  Sister           lteclacterl      Elernetrtary   Houservife         Married
                                                                      school
 9                                  Brother                           .rmior high    civil scn'nnt      Ivlauied
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Numbel of dependents: Father * nrottter * .l
If mf,t'ried: fle $ives rnd rtrino!. childt.eu:
If shgle: the pRleuts alld the minot' siblings:
Notes concel'lring tlre fernill' table:




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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 127 of 148




                                                                                Shatsky-JDO0676-T
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                                                marlyr, Samer Samih Mohammad Hammad
        [cut offl of the case and its type: The
        Recommendation of the DePartment:
        * The martvr is sinsle. Both oarents are alive'
        * The ma4vr has two brothers who are still studyins in school'

                                                                               Intifada.
        :*
             we recommendl that he will be confirmedl as a martvr of the Al-Aosa
                                                  Date: 4.29.2006 Signature; [handwritten signature]
        Decision of the establishment's director: ( Jenin )
                                                                          Intifada
        we recommend that he will be confirmed as a marh/r of the Al-Aqsa
        as of    5'1'2006'
                                                      Date4'29'2006 signature: lhandwrittenl


        Calculation of the allowance:
                                             Father        Mother         Minor siblines    Total in Dinar
Basic           Wife          Children
                                                                                            700 Shekels
700


         Other increments:
         Total in dinar:
         Total in shekels: ZOO Snetets


         Confirmation of the director seneral:
                                                                      as of 5.1'2006' To be paid 700
         The martvr is confirmed as a martvr of the Al-Aqsa Intifbda
         Shekels a month from the Establishment to his father. to
                                                                  the attached account number'




             Auditts notes:                Date: 5.2.2006           Signature[handwrittensignature]




                                                                             Signature:
             @clerizs@:                      Date:




                                                                                  Shatsky-JD00676-T
             Confidential
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                     Exhibit 135
                            Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 134 of 148




Palestinian ltiational Authoritr                        [Emblem of the Palestinian National Authoritl]            llartlrs' Families and Injured Care Establishment

ID Card:          8533 :*            Four-Parl Narue: Sarnel" Sarnih Mohauuuad Harmnad                   Type of Docrrurent: Palestinian ID
Date of Birth:           1984        Minisrry: Jenin                                                  Gender: Male
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       CONFIDENTIAL                                                              SHATSKY-JDOO8I8-T
                                   In the name of Allah, the Gracious, the Merciful
       [English] Palestinian National Authority                    [Arabic] Palestinian National Authority
                                                     P.A.
            Ministry of Social Affairs                                   Ministry of Social Affairs
                                                   emblem
               M'sF. & I. C. E                                        Families and Injured Care Establishment




                                 In the name of Allah, the Gracious, the Merciful


                                                  Social Report

                                                  Case: Ma4vr of


       Name: Sufvan Salem Abd Rabbo alJabarin


       Local number: 2645                                       Central number:011918

       Governorate: Hebron


       Date:1.18.1999




       Ramallah - Tel/Fax: XX-XXXXXXX                                    Ramallah - Tel/Fax: XX-XXXXXXX



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Case 1:18-cv-12355-MKV-DCF Document 177-18 Filed 05/16/22 Page 147 of 148




          Confidential                                                        Shatsky-JD0O8 1 9-T
          lCut oIfl: Personal lnformation
 Local no.: 264 S                                         Central no.: 011918
 The casets name: Sufyan Salem Abd Rabbo alJabarin        Code name:

 Nationality: Palestinian                                 Identification no.:          7928

 Beneficiary's   full name: Sabha Muhammad Mahmoud Subh    Identification no.:         7928

 Mother's full name: Sabha Muhammad Mahmoud Subh           Motherrs Identification no.
 Pface and date of birth: 197I - Al-Zahitiya               Place of origin'. Al-Zahiriya
 Religion: Muslim                                          Sex: Male         Marital status: Single
 Previousjob: Laborer                                      Current job:
 Date and number of confirmation letter:
 Date of confirmation in the institution: 1 1'l'1995
 Education: First year in Hebron University




          Part 2: Administrative Information
 Military rank:                                                        Organizational rank:
 Rank confi rmation letter:                                            No.                    Date:
                              tlEttl
 Previous Monthly Allowance:     @                                     Memorandum no.:
 Organizational affiliation: Hamas                                     Sector:
 Date of joining the revolution: 1987    Organizationally: /           Militarily: /    As a full-time member: /

 Training courses undertaken:
 Place and date of the incident: 8.21 .1995 - Ramat Eshkol (Palestine 1948)
 Details of the incident: The abovementioned person was martyred as a result of a martyrdom operation he
 executed against an Israeli bus in Palestine (1948)'


  in the school of Al-Zahiriva and joined the Hebron University for one year. He joined the movement in 1987
  (Hamas movemenfs military wing. the Izz a-Din al-Oassam) and was amons the Intifada activists'


  The familyts residence: Owned             Rented:             Sg19d: The family's home was demolished after
                                            the abovementioned person executed the suicide attack.

  Monthly rent:
  x'ull address: liEilFfi
  Nearest telephone:


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                  l. If rnanied. the ttarnes of tlte wives and ruiuor-children are q,riften flust. follorvecl by the
                        ilaures of adull childlerr. and then the narles of the pareuts arxl siblings.
                 2. If sitgle. the ttatnes of the parents ale writter fl'st, followecl by the uaures of uriuor
                        siblilgs. and rheu adult sibliugs.
 Serial   Name                   Relrtioush{r DoB                Education      Profession       l\{alital Addless
 uo.                             to llre case                                                    status
 I        Sabha                  Mother            t944          None           Housewife        N,Ianied     Al-Zahiriya
 1
          lteclacleti            Father           l{er llcletl   Noue           Ixlegiblel       \,Ian'ied    Retlliclr'tl
 -1                              Sister                          High School    Houservife       \.{anied
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                                                                                official
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                                                                 Seconclary
                                                                 Educatiou]
 6                               Sister                                         Housewif'e       \,Iar:ried
 1
                                 Sister                                         Flousewife       \4aniecl
 8                               Brother                                        Secruitv[+]      Manied
                                                                                official
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lf single: the parents and the miuol.sibliugs: Ir{orher
Notes concelning the farnily table:


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